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            NOVEMBER 16, 2020 ICE
           JUVENILE COORDINATOR
                  REPORT
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                           UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

 JENNY LISETTE FLORES, et. al.,                  )       Case No.: CV 85-4544-DMG
                                                 )
        Plaintiffs,                              )
                                                 )
 v.                                              )
                                                 )
 WILLIAM BARR, Attorney General of the           )
 United States, et al.,                          )
                                                 )
        Defendants.                              )
                                                 )


                      NOVEMBER 2020 INTERIM REPORT
               OF JUVENILE COORDINATOR DEANE DOUGHERTY
           SUBMITTED BY IMMIGRATION AND CUSTOMS ENFORCEMENT

        As required by the Court in its order issued on October 26, 2020, U.S. Immigration and

 Customs Enforcement (ICE) Juvenile Coordinator Deane Dougherty is submitting the following

 interim report to provide an update on the Class Members in the FRCs over 20 days, status of

 implementation of COVID-19 guidances, a census of positive COVID-19 cases at the family

 residential centers (FRCs), the status of compliance with respect to minors held in Title 42 custody,

 the status of the FRC licensing regulations in Texas, and confirmation that ICE continues to

 comply with requests for information and access to residents made by Ms. Ordin and Dr. Wise.

        Due to the constantly evolving nature of the COVID-19 crisis, and the frequency of custody

 and discharge determinations, the information in this report is current and accurate as of the time

 of signature, or for the reported data, as of the date or time noted in conjunction with the

 information provided.




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       I. Making and Recording Individualized Custody Determinations and Census of
          Minors at FRCs

          As of November 9, 2020, there were a total of 111 Class Members at ICE FRCs. The figures

 below breakdown these Class Members by age and country of origin.


                             Minors in FRCs by Age Group
                                 Count of minors in custody on 11/9/2020
  60

  50
                      52

  40                                                 46


  30

  20

  10                                                                             13

   0
                 0-5 years old                  6-13 years old             14-17 years old




                                                    2
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          ICE has been making continuous efforts to release Class Members under applicable

 standards throughout the course of this litigation and, where there are no impediments to

 removal, those that are subject to final orders of removal are repatriated in accordance with the

 law. This includes the expeditious release of minors who received a positive credible fear

 finding by U.S. Citizenship and Immigration Services (USCIS) pursuant to a request for

 reconsideration, a process solely committed to and within the discretion of USCIS and with

 which ICE is not involved. The graph below portrays the book-outs by the FRCs from

 September 26 to November 9, 2020, which includes 172 Class Members released into the interior

 of the United States, 23 Class Members removed from the United States, and 53 Class Members

 returned to their country of origin pursuant to Title 42 authorities.1


              Minors Booked-Out of FRCs September 26 - November 9, 2020
  35

  30

  25

  20

  15

  10

     5

     0
          2-Nov
          3-Nov
          4-Nov
          5-Nov
          6-Nov
          7-Nov
          1-Oct
          2-Oct
          4-Oct
          5-Oct
          6-Oct
          8-Oct
          9-Oct
         26-Sep
         28-Sep
         29-Sep
         30-Sep




         12-Oct
         13-Oct
         14-Oct
         15-Oct
         16-Oct
         17-Oct
         18-Oct
         19-Oct
         20-Oct
         21-Oct
         22-Oct
         23-Oct
         24-Oct
         25-Oct
         26-Oct
         27-Oct
         28-Oct
         29-Oct
         30-Oct
         31-Oct




                                            Released     Title 42   Removed




 1
   In the October 2, 2020, interim ICE Juvenile Coordinator report, I reported on the status of the administrative stay
 issued by the Court in D.A.M. v. Barr, No. 20-1321 (D.D.C. filed Jul. 23, 2020). As a further update, after the United
 States Court of Appeals for the District of Columbia Circuit lifted the administrative stay in D.A.M. on September
 30, 2020, the D.A.M. Plaintiffs filed a motion for leave to intervene and a preliminary injunction in East Bay
 Sanctuary Covenant, et al. v. Barr, et al., No. 19-4073 (N.D. Cal. filed Jul. 16, 2019), and another temporary
 restraining order was granted. The motion was denied on November 10, 2020; however, the Court ordered the


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           As of November 9, 2020, 40 Class Members have been detained at an FRC 20 days or

 more. Exhibit A. These individuals, and their accompanying parent(s) or legal guardian(s), may

 be subject to the Flores waiver process

 This process has two parts that remain in development: (1) the Notice of Rights, and (2) an updated

 policy or instruction regarding the process that flows from service of the Notice of Rights where a



 (Directive). In its October 26, 2020, Order, the Court directed the parties to meet and confer, under

 the supervision of the Special Monitor, regarding                        edits and comments to the proposed

 Notice of Rights and Directive in order to finalize the language. I have reviewed the data provided

 in Exhibit A, and it has been shared with the Special Monitor, as required by the October 26, 2020,

 Order. Once the meet and confer process is concluded, and the Court issues a finalized Notice of

 Rights and Directive, ICE will update the specific explanations for continued detention over 20

 days as outlined in paragraph 1, 4(c), and 4                                           , in its interim reporting.

     II.                                                        -19 Guidances

           I have confirmed that the measures described in the declarations and the Juvenile

                         s, previously submitted to this Court, pertaining to the operational changes the

 FRCs have implemented to mitigate the introduction into, and spread of, COVID-19 are still in

 effect. Since the last interim report filed on October 2, 2020, ICE released an update to its

 Enforcement and Removal Operations Pandemic Response Requirements, setting forth specific

 mandatory requirements for all ICE detention facilities, including the FRCs. Exhibit B.




 temporary restraining order remain in effect through November 14, 2020, to permit pursuit of emergency relief in
 the Ninth Circuit. On November 12, 2020, Plaintiffs filed a Notice of Appeal with the Ninth Circuit. On November
 13, 2020, Plaintiffs filed an emergency motion for a stay with the Ninth Circuit, which is currently being briefed.

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 Additionally, as has been the case since the beginning of the pandemic, ICE FRCs are operating

 well below maximum capacity, as demonstrated in the chart below.




    III. Report of ICE Facilities Holding Minors and Number of COVID-19 Cases

        ICE has been regularly reporting positive COVID-19 cases to the United States District

 Court for the District of Columbia, which is overseeing O.M.G. v. Wolf, and the notices of

 positive results are also submitted to this Court. The following charts describe the number of

 positive COVID-19 cases at the ICE FRCs as of November 9, 2020.




                                                                          , the minors who remain

 housed at the STFRC and KCFRC have not been released or transferred to non-congregate settings

 for two reasons: (1) because they are either in quarantine or cohorting based on CDC guidance as


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 a result of testing positive for COVID-19 or they are a new intake and must undergo a 14-day

 observation period; and/or (2) because they are housed with their parent or legal guardian whose

 release is not appropriate and, as discussed previously, ICE will determine the

 for release with the consent of a parent or legal guardian in accordance with any future remedy

 ordered by the Court.2

         As of November 9, 2020,                                                                           has had

 no reported cases of COVID-19 by residents or staff.

     IV. FRC Licensing Updates

                        October 26                                     s]pecific updates on the status of the

 FRC licensing

 FRCs in Texas, if available

 my interim Juvenile Coordinator report, filed October 2, 2020.

        As reported in the interim Juvenile Coordinator report filed with the Court on October 2,

 2020, on November 28, 2018, the Texas Court of Appeals, Third District, at Austin, dismissed a



 to FRCs, and reinstated the regulation that codifies licensing for FRCs. Texas Department of

 Family and Protective Services v. Grassroots Leadership, Inc., (Tex. App., Nov. 28, 2018, No.

 03-18-00261-CV), 2018 WL 6187433). In addition, on December 12, 2018, Grassroots filed a

 motion for rehearing, which was denied on December 14, 2018. On January 11, 2019, Grassroots

 filed a motion for en banc reconsideration. On December 5, 2019, the motion was denied. On

 March 20, 2020, Grassroots filed a Petition for Review with the Texas Supreme Court (Sup. Ct.



 2
  As of Friday, October 30, 2020, KCFRC began exclusively housing minors being expelled under the T42 processes.
 Therefore, for purposes of this interim report, all minors recorded at KCFRC on or after October 30, 2020, are T42
 minors, and are not eligible for release into the United States.

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 Tex., No. 19-0092). On June 19, 2020, Conditional Cross-Petitions for Review were filed on

 behalf of Defendants. On September 18, 2020, Grassroots filed its Response to the Cross-Petitions

 for Review. On September 22, 2020, the case was forwarded to the Texas Supreme Court. On

 October 23, 2020, replies in support of the Cross-Petition were filed by Defendants, and a reply in

 support of the Petition for Review was filed on behalf of CoreCivic. On the same date, the Texas

 Supreme Court requested all responses to petitions for review be filed no later than November 23,

 2020. The case remains pending with the Texas Supreme Court.

       CoreCivic and GEO submitted a license application in March 2016. During the original

 injunction issued by the Court, CoreCivic and GEO continued to operate under the regulations of

 licensure but were unable to obtain a license due to the injunction. The Third District reinstated

 the regulation in November 2018. However, the Texas Department of Family Protective Services

 (DFPS) has not issued a license to either CoreCivic or GEO during the ongoing litigation. As

 reported in the last interim Juvenile Coordinator report, and the annual Juvenile Coordinator report

 filed in July 2020, Texas authorities have regularly inspected the facilities at STFRC and KCFRC

 during the pendency of the ongoing litigation to ensure compliance with the state         licensing

 standards, even while licensure was stayed by the Court. CoreCivic and GEO have passed all

 unannounced inspections conducted during the last 4 years. The facilities will continue to seek

 licensure when it again becomes available.

    V. Additional Policies and Practices Aimed at Identifying and Protecting Minors from
       COVID-19

        Pursuant to section 7                    September 18, 2020 Order, I can confirm that I

 facilitated, and participated in, more calls with, among others, Dr. Paul Wise and Ms. Ordin.

 Furthermore, I facilitated video conferencing and virtual tours with Dr. Wise, Ms. Ordin and others

 with the FRC staff and residents. Ms. Ordin and I have spoken in depth regarding this report, and

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 attachments, particularly steps taken to safeguard FRC residents from the COVID-19 virus. Also

 of particular note is that Ms. Ordin and I have corresponded regarding individual residents as

 Plaintiffs request information on their behalf with regard to medical care. All such queries were

 resolved quickly and appropriately. I have also telephonically provided Ms. Ordin with data and

 reports on the hoteling of minors and families with regard to Title 42 compliance.

    VI. Title 42 Compliance

                                                                      ordering that the government

 maintain records and statistical information on minors held in Title 42 custody, to include an

 update regarding the number of minors held in Title 42 custody, and to monitor compliance with

 the Agreement with respect to minors held in Title 42 custody, I can confirm that ICE has included

 minors temporarily housed by ICE pursuant to Title 42 authorities over 72 hours pending expulsion

 in its monthly Paragraph 28A repor                                    since March 2020, and will

 continue to do so. Between October 1, 2020, and November 9, 2020, ICE temporarily housed a

 total of 429 minors pending expulsion under T42 processes. Of those, ICE temporarily housed 56

 minors at an FRC with an average length of stay of 9 days; the chart below demonstrates the age

 categories:




 ICE temporarily housed 373 minors in hotels, with an average length of stay of 2 days; the charts

 below demonstrate the age categories and breakdowns by family group (FAMGR) versus single

 minors:


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  Of the total number of 429 minors temporarily housed pursuant to Title 42, 332 minors were

  expelled, 0 minors were held in hotels for more than 72 hours pending transfer to a licensed facility,

  and 19 minors were held in a hotel for more than 2 days pending an expulsion flight. On November

  2, 2020, 19 single minors came into ICE custody and were temporarily hotelled pending an

  expulsion flight to their home country under Title 42 authorities. Due to Hurricane Eta, two

  scheduled flights for November 4, 2020, and November 6, 2020, were cancelled. These single

  minors were transported back to U.S. Customs and Border Protection for processing on November

  5, 2020. Based on information available to ICE, these 19 minors are currently in ORR custody.

         Further, one minor was picked up by ICE in Arizona on October 19, 2020, pending

  expulsion, and was placed in a hotel that evening. He was transported to Texas via bus the

  following day but did not make the scheduled flight on October 21, 2020. The minor was

  transported back to Arizona and arrived on October 22, and was checked back into the hotel for

  one night. The minor was expelled from the United States on October 23, 2020.

  Signed on this 16th day of November 2020.



  ____________________________

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  Deane Dougherty
  Juvenile Coordinator




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          ATTACHMENT A
      TO NOVEMBER 16, 2020 ICE
   JUVENILE COORDINATOR REPORT
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                                   #:41922
Det Location   A‐Number   Last Name   First Name   Country of Citizenship Code Book‐In Date   Birth Date   Age Age Group      Final Order Date ("as of" 11/7/20)                    Case Category                                 Spec fic explanation for detention 20 Days
                                                                                                                                                                                                                   This minor may be e igible for indiv dual release if the parent
                                                                                                                                                                                                                   designates a caregiver to whom the minor can be released. As of
                                                                                                                                                                                                                   today, a parent has not designated a caregiver or requested that the
                                                                                                                                                                                                                   minor be released separately from her or him. CE wi l determine the
                                                                                                                                                                                                                   minor’s eligibility for re ease with the consent of a parent or guard an
                                                                                                                                                                                                                   in accordance with the process fina ized and approved by the court as
                                                   ECUAD                      10/5/2020                    1   0 to 5      10/20/2020                              [8G] Expedi ed Removal - Credible Fear Referral contemp ated in the 09/18/20 order. The minor s subject to a final
                                                                                                                                                                                                                   order of removal and there are no impediments to removal at th s
                                                                                                                                                                                                                   time. Minor is in the process of being scheduled for removal, which
                                                                                                                                                                                                                   includes working with the consulate to secure travel documents and
                                                                                                                                                                                                                   being tested for COVID-19 as is required by country of origin. The
                                                                                                                                                                                                                   minor is from Ecuador and the next projected date of removal s

                                                                                                                                                                                                                               or may be e igible for individual release if the parent
                                                                                                                                                                                                                     designates a caregiver to whom the minor can be released. As of
                                                                                                                                                                                                                     today, a parent has not designated a caregiver or requested that the
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                                                   DECON                      9/30/2020                    1   0 to 5      9/7/2020                                [8G] Expedi ed Removal - Credible Fear Referral   order of removal and there are no impediments to removal at th s
                                                                                                                                                                                                                     time. Minor is in the process of being scheduled for removal, which
                                                                                                                                                                                                                     includes working with the consulate to secure travel documents and
                                                                                                                                                                                                                     being tested for COVID-19 as is required by country of origin. The
                                                                                                                                                                                                                     minor is from The Democratic Republic of Congo and fligh s are
                                                                                                                                                                                                                     occurring frequently. Travel documents pending/awaiting next
                                                                                                                                                                                                                     avai able commercial f ight for repatriation. Projected removal within
                                                                                                                                                                                                                     the next three weeks.
                                                                                                                                                                                                                     Minor/fam ly unit received a negative CF decision from APSO on
                                                                                                                                                                                                                     10/6/20. IJ affirmed APSO s negative CF decision on 10/13/20. The
                                                   ECUAD                      9/28/2020                    1   0 to 5      8/26/2020                               [8G] Expedi ed Removal - Credible Fear Referral   minor /fam ly un t was scheduled for removal. On 10/29/20, Minor s
                                                                                                                                                                                                                     attorney requested a RFR from APSO and the removal was canceled.
                                                                                                                                                                                                                     Minor/fam ly unit is pending APSO's RFR decis on.
                                                                                                                                                                                                                     This minor may be e igible for individual release if the parent
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                                                   HONDU                      10/ /2020                    1   0 to 5      10/21/2020                              [8G] Expedi ed Removal - Credible Fear Referral
                                                                                                                                                                                                                     in accordance with the process fina ized and approved by the court as
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                                                                                                                                                                                                                     order of removal and there are no impediments to removal at th s
                                                                                                                                                                                                                     time. Minor is in the process of being scheduled for removal, which
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                                                   CHILE                      3/18/2020                    2   0 to 5      3/15/2020                               [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
                                                                                                                                                                                                                     removal but cannot be removed at this time because the minor/family
                                                                                                                                                                                                                     unit is subject to an administrative stay of removal issued by the U.S.
                                                                                                                                                                                                                     D strict Court for the Northern Distr ct of California on October 17,
                                                                                                                                                                                                                     2020, in East Bay Sanctuary Covenant v. Barr, No. 19- 073 (N.D. Cal
                                                                                                                                                                                                                     Filed Jul. 16, 2019) PI appeal docketed, No. 19-16 87 (9th Cir. fi ed
                                                                                                                                                                                                                     Jul. 29, 2019).
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                                                   GUATE                      10/5/2019                    2   0 to 5      11/1 /2019                              [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                   ELSAL                      9/11/2019                    2   0 to 5      10/17/2019                              [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                   GUATE                      9/1 /2019                    3   0 to 5      9/30/2019                               [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                   CHILE                      3/18/2020                    3   0 to 5      3/1 /2020                               [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                                                                                                                                                                                     in accordance with the process fina ized and approved by the court as
                                                   HONDU                      9/1 /2019                    3   0 to 5      9/30/2019                               [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                                                                                                                                                                                     Jul. 29, 2019).
                                                                                                                                                                                                                      Minor/fam ly un t received a negative CF decision from APSO on
                                                                                                                                                                                                                     10/1 /20. IJ affirmed APSO's negative CF decis on on 10/21/20. The
                                                   ECUAD                      10/3/2020                    3   0 to 5      10/21/2020                              [8G] Expedi ed Removal - Credible Fear Referral   minor /fam ly un t was scheduled for removal. On 10/29/20, Minor s
                                                                                                                                                                                                                     attorney requested a RFR from APSO and the removal was canceled
                                                                                                                                                                                                                     pending APSO's decis on.
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                                                                                                                                                                                                                     minor’s eligibility for re ease with the consent of a parent or guard an
                                                                                                                                                                                                                     in accordance with the process fina ized and approved by the court as
                                                   ELSAL                      8/29/2019                        0 to 5      9/18/2019                               [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
                                                                                                                                                                                                                     removal but cannot be removed at this time because the minor/family
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                                                   HONDU                      9/1/2019                         0 to 5      8/30/2019                               [8G] Expedi ed Removal - Credible Fear Referral
                                                                                                                                                                                                                     order of removal and there are no impediments to removal at th s
                                                                                                                                                                                                                     time. Minor is in the process of being scheduled for removal, which
                                                                                                                                                                                                                     includes working with the consulate to secure travel documents and
                                                                                                                                                                                                                     being tested for COVID-19 as is required by country of origin. The
                                                                                                                                                                                                                     minor/fam ly unit is scheduled for removal on 11/11/2020. Flight
                                                                                                                                                                                                                     cancelled due to weather. The minor is from Honduras and the next
                                                                                                                                                                                                                       ojected date of e o al is
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                   ELSAL   8/27/2019   9   6 to 13   9/18/2019    [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                   ECUAD   1/19/2020   11 6 to 13    2/5/2020     [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                   HONDU   8/27/2019   11 6 to 13    8/26/2019    [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                   GUATE   10/6/2019   12 6 to 13    11/21/2019   [8G] Expedi ed Removal - Credible Fear Referral   unit is subject to an administrative stay of removal issued by the U.S.
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                                                                                                                    Filed Jul. 16, 2019) PI appeal docketed, No. 19-16 87 (9th Cir. fi ed
                                                                                                                    Jul. 29, 2019). AFTER REVIEWING THE RFR, USCIS ISSUED NTAs
                                                                                                                    FOR THE FAMU on 11/05/20. The amily unit was released on
                                                                                                                    11/09/20 after the sponsor prov ded the travel arrangements.



                                                                                                                  The minor/fam ly un t received a negative CF decision from APSO on
                   GUATE   10/9/2020   13 6 to 13    10/27/2020   [8G] Expedi ed Removal - Credible Fear Referral 10/20/20. The family unit requested IJ review and the case is
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                   ELSAL   8/31/2019   13 6 to 13    10/3/2019    [8G] Expedi ed Removal - Credible Fear Referral contemp ated in the 09/18/20 order. The minor has a final order of
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                                                                                                                  Jul. 29, 2019). RFR DENIED ON 10/26/2020.
                                                                                                                    This minor may be e igible for indiv dual release if the parent
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                   HONDU   10/8/2019   1   1 to 17   12/11/2019   [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                   GUATE   8/30/2019   15 1 to 17    9/23/2019    [8G] Expedi ed Removal - Credible Fear Referral   contemp ated in the 09/18/20 order. The minor has a final order of
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                                                                                                                This minor may be e igible for indiv dual release if the parent
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          ATTACHMENT B
      TO NOVEMBER 16, 2020 ICE
   JUVENILE COORDINATOR REPORT
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  U.S. Immigration and Customs Enforcement
  Enforcement and Removal Operations

  COVID-19 Pandemic Response Requirements



ERO COVID-19 Pandemic Response Requirements (Version 5.0, October 27, 2020)
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  Summary of Changes
   Explanation of Change                                           Section                    Page

         Addition: Footnote 6; A cohort, quarantine, and                     Objectives         8
         medical isolation must be operationally distinct
         from administrative or disciplinary segregation, or
         any punitive form of housing.
         Clarification: Severe psychiatric illness has               Concept of Operations    11, 13
         been further defined to include psychiatric
         illnesses that make it difficult for the individual
         to participate in their own care, that make it
         unlikely the individual will express symptoms,
         or that increase the risk of complications from
         the virus.
         Addition: In addition to notifying the local                Concept of Operations      11
         ERO Field Office Director (or designee) and
         the Field Medical Coordinator that a new
         detainee admission falls within the populations
         identified as potentially being at higher risk for
         serious illness from COVID-19 and/or the
         subclasses certified in Fraihat v. ICE,
         notification must also be made to the detainee
         and his or her counsel as soon as practicable,
         but within twelve hours.

         Addition: Requirement to evaluate all new                   Concept of Operations      12
         admissions within 5 days of entering ICE
         custody to determine whether the detainees fall
         within the populations identified as potentially
         at higher risk for serious illness from COVID-
         19 also applies to non-dedicated ICE detention
         facilities.
         Addition: Section on the handling of detainees             Standards for High Risk   14-22
         who fall into a high risk (vulnerable)                    (Vulnerable) Populations
         populations category.

         Addition: Safe cleaning products must be used                    Preparedness          26
         in the quantities and in a manner as indicated


         Addition: Facilities shall report confirmed or                   Preparedness          27
         suspected cases of detainees suffering adverse
         reactions to cleaning supplies or chemicals to the
         local ERO Field Office Director (or designee) and
         Field Medical Coordinator. ICE will promptly
         investigate and redress reports of adverse reactions

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         to harsh cleaning products or chemical sprays.
         Update: Transfers of ICE detainees and non-ICE                    Prevention      26
         detained populations to and from other jurisdictions
         and facilities are discontinued unless necessary for
         medical evaluation, medical isolation/quarantine,
         clinical care, extenuating security concerns, release
         or removal, or to prevent overcrowding. Detainee
         transfers for any other reason require justification
         and pre-approval from the local ERO Field Office
         Director. Detainee transfers must have cleared
         quarantine protocols and be cleared by ICE Health
         Services Corps.

         Addition: Extended lockdowns must not be used as a                Prevention      27
         means of COVID-19 prevention.


         Addition/Clarification: When detainees have to be                Management       30
         housed in the spaces used for administrative or
         disciplinary segregation, facilities must ensure that
         medical isolation is operationally distinct from
         administrative or disciplinary segregation, or any
         punitive form of housing. Detainees in medical
         isolation must be provided access to books,
         television, recreation and to telephones to the fullest
         extent possible.
         Addition: All new arrivals to ICE detention facilities           Management       29
         require COVID-19 testing within 12 hours of arrival.
         Collection timeframe may extend to 24 hours if
         facility collection logistics require additional time.

         Addition: All new arrivals to ICE detention facilities              Testing       33
         require COVID-19 testing within 12 hours of arrival.
         Collection timeframe may extend to 24 hours if
         facility collection logistics require additional time.
         Testing of all new admissions before they join the
         rest of the population in the facility, and housing
         them individually or in cohorts while test results are
         pending help prevent potential transmission.




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             PURPOSE AND SCOPE

             The U.S. Immigration and Customs Enforcement (ICE) Enforcement and Removal
             Operations (ERO) Coronavirus Disease 2019 (COVID-19) Pandemic Response
             Requirements (PRR) sets forth expectations and assists ICE detention facility operators in
             sustaining detention operations while mitigating risk to the safety and wellbeing of
             detainees, staff, contractors, visitors, and stakeholders due to COVID-19. The ERO PRR
             builds upon previously issued guidance and sets forth specific mandatory requirements to be
             adopted by all detention facilities, as well as recommended best practices, to ensure that
             detainees are appropriately housed and that available mitigation measures are implemented
             during this unprecedented public health crisis 1. The ERO PRR has been developed in
             consultation with the Centers for Disease Control and Prevention (CDC) and is a dynamic
             document that will be updated as additional/revised information and best practices become
             available.

             INTRODUCTION

             As the CDC has explained:

                      COVID-19 is a communicable disease caused by a novel (new) coronavirus,
                      SARS- CoV-2, and was first identified as the cause of an outbreak of respiratory
                                                                                                   ina).

                      COVID-19 appears to spread easily and sustainably within communities. The
                      virus is thought to transfer primarily by person-to-person contact through
                      respiratory droplets produced when an infected person coughs or sneezes; it may
                      transfer through contact with surfaces or objects contaminated with these droplets.
                      There is also evidence of asymptomatic transmission, in which an individual
                      infected with COVID-19 is capable of spreading the virus to others before
                      exhibiting symptoms. The ease of transmission presents a risk of a surge in
                      hospitalizations for COVID- 19, which would reduce available hospital capacity.
                      Such a surge has been identified as a likely contributing factor to the high
                      mortality rate for COVID-19 cases in Italy and China.

                      Symptoms include fever, cough, and shortness of breath, and typically appear two
                      to fourteen days after exposure. Manifestations of severe disease include severe
                      pneumonia, acute respiratory distress syndrome (ARDS), septic shock, and multi-
                      organ failure. According to the World Health Organization, approximately 3.4




1
    On April 20, 2020, the U.S. District Court for the Central District of California issued a preliminary injunction requiring that ICE

det                                                     Fraihat v. ICE, --- F.Supp.3d ---, 2020 WL 1932570, *29 (C.D. Cal. Apr. 20,
                                                                                              etention conditions for detainees with risk
f

                             ERO COVID-19 Pandemic Response Requirements (Version 5.0, October 27, 2020)                          5
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                   percent of reported COVID-19 cases have resulted in death globally. This
                   mortality rate is higher among older adults or those with compromised immune
                   systems. Older adults and people who have severe chronic medical conditions like
                   heart, lung, or kidney disease are also at higher risk for more serious COVID-19
                   illness. Early data suggest older people are twice as likely to have serious
                   COVID-19 illness.

          Notice of Order Under Sections 362 and 365 of the Public Health Service Act Suspending
          Introduction of Certain Persons from Countries Where a Communicable Disease Exists, 85
          Fed. Reg. 17060 (Mar. 26, 2020) (internal citations omitted).

          Additionally, other symptoms may include fatigue, headache, chills, muscle pain, sore
          throat, new loss of taste or smell, nausea or vomiting, and diarrhea. 2 Given the seriousness
          and pervasiveness of COVID-19, ICE is taking necessary and prompt measures. ICE is
          providing guidance on the minimum measures required for facilities housing ICE detainees
          to implement to ensure consistent practices throughout its detention operations and the
          provision of medical care across the full spectrum of detention facilities to mitigate the
          spread of COVID-19. The ICE detention standards applicable to all facilities housing ICE
          detainees have long required that each such facility have written plans that address the
          management of infectious and communicable diseases, including, but not limited to, testing,
          isolation, prevention, treatment, and education. Those requirements include reporting and
          collaboration with local or state health departments in accordance with state and local laws
          and recommendations.3

          The Performance-Based National Detention Standards (PBNDS) 2008 and 2011 both require

          authorities addressing specific public health issues including communicable disease
                                   4
                                     The 2019 National Detention Standards (NDS) similarly require
                                      5
                                    The measures set forth in the ERO PRR allow ICE personnel and
          detention providers to properly discharge their obligations under those standards in light of
          the unique challenges posed by COVID-19.

          OBJECTIVES

          The ERO PRR is designed to establish requirements, as well as best practices, for all
          detention facilities housing ICE detainees to follow during the COVID-19 pandemic.
          Consistent with ICE detention standards, all facilities housing ICE detainees are required to
          have a COVID-19 mitigation plan that meets the following four objectives:

2
  See, e.g., Attachment B, Centers of Disease Control and Prevention, Symptoms of Coronavirus,
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last visited October 15, 2020).
3
  See, e.g., Attachment C, ICE National Detention Standards 2019 (NDS), Standard 4.3, Medical Care, at II.D.2 (p. 114),
https://www.ice.gov/doclib/detention-standards/2019/4_3.pdf; Attachment D, 2011 ICE Performance-Based National Detention
Standards (PBNDS), Revised 2016, Standard 4.3, Part V.C.1 (p. 261), https://www.ice.gov/doclib/detention-standards/2011/4-3.pdf;
Attachment E, 2008 ICE PBNDS, Standard 4-22, Medical Care, V.C.1 (pp. 5-6), https://www.ice.gov/doclib/dro/detention-
standards/pdf/medical_care.pdf.
4
  Performance-Based National Detention Standards (PBNDS) 2008 and 2011, Medical Care 4.3, (C.) Communicable Disease and
Infection Control, p. 261-262.
5
  The 2019 National Detention Standards (NDS), Medical Care 4.3, (II.)(D.)(2.) Infectious and Communicable Diseases, p.114.


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                        To protect employees, contractors, detainees, visitors, and stakeholders from
                        exposure to the virus;

                        To maintain essential functions and services at the facility throughout the
                        pendency of the pandemic;

                        To reduce movement and limit interaction of detainees with others outside their
                        assigned housing units, as well as staff and others, and to promote social
                        distancing within housing units; and

                        To establish the means to monitor, cohort, quarantine, and isolate the sick
                        from the well.6

COMPLIANCE MEASURES

           To ensure that detention facilities comply with the detention requirements set forth in the
           ERO PRR, ICE federal compliance personnel will conduct onsite in-person monthly spot
           checks at over 72-hour ICE detention facilities during the COVID-19 pandemic 7. Upon
           identification of a deficiency, ICE will provide written notice to the facility and allow seven
           business days for submission of a corrective action plan to ICE for approval. Life/safety
           issues identified by ICE will be corrected during the COVID-19 spot checks, if possible, or
           the facility will be required to submit a corrective action plan, within three business days.

                        For dedicated ICE detention facilities, which operate under Quality Assurance
                        Surveillance Plans, ICE will issue a Contract Discrepancy Report (CDR), which
                        may include contract sanctions, for failure to bring the facility into compliance
                        with the minimum requirements of the ERO PRR within the ICE-approved
                        timeframe. The CDR may become a part of the supporting documentation for
                        contract payment deductions, fixed fee deductions, award fee nonpayment, or
                        other contractual actions deemed necessary by the Contracting Officer. If the
                        detention facility continues to have deficiencies despite the issuance of CDRs,
                        ICE may seek to terminate the contract and/or decline to renew the contract.

                        For non-dedicated ICE detention facilities that fail to meet the minimum
                        requirements of the ERO PRR, ICE will issue a Notice of Intent indicating that
                        the intergovernmental service agreement is in jeopardy due to non-compliance
                        with the ERO PRR and may take appropriate action, including removing its

6
  A cohort is a group of persons with a similar condition grouped or housed together for observation over a period of time. Isolation
and quarantine are public health practices used to protect the public from exposure to individuals who have or may have a contagious
disease. Cohorting, quarantining, and holding in medical isolation must be operationally distinct from administrative or disciplinary
segregation, or any punitive form of housing insofar as cells and units for those forms of segregation may be used but detainees are
provided access to TV, reading materials, recreation and telephones to the fullest extent possible. For purposes of this document, and
as defined by the CDC, quarantine is the separation of a person or group of people reasonably believed to have been exposed to a
communicable disease but not yet symptomatic, from others who have not been exposed, to prevent the possible spread of the
communicable disease. For purposes of this document, and as defined by the CDC, isolation is the separation of a person or group of
people known or reasonably believed to be infected with a communicable disease and potentially infectious from others to prevent the
spread of the communicable disease.
7
  A spot check is an in-person visit to a detention facility by an ICE Detention Service Manager (DSM) or Detention Standards
Compliance Officer (DSCO) for the purpose of assessing whether the facility is complying with the requirements of the ERO PRR.
DSMs and DSCOs review policies, logs and records; observe facility operations; speak with facility staff and detainees; and complete
a standardized form to note observations and findings.

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                        detention population from the facility or reducing its detention population at
                        the facility on a temporary or permanent basis, depending on the nature of the
                        non- compliance.

         CONCEPT OF OPERATIONS

                                                          entire detention network, applying to all
         facilities housing ICE detainees, including ICE-owned Service Processing Centers, facilities
         operated by private vendors, and facilities operated by local government agencies that have
         mixed populations of which ICE detainees comprise only a small fraction.


                                               DEDICATED ICE DETENTION FACILITIES


         All dedicated ICE detention facilities8 must:

                        Comply with the provisions of their relevant ICE contract or service agreement.

                        Comply with the ICE national detention standards applicable to the facility,
                        generally PBNDS 2011.

                                                 Interim Guidance on Management of Coronavirus
                        Disease 2019 (COVID-19) in Correctional and Detention
                        Facilities.(Attachment F).

                        Fol
                        Superintendents on COVID-19 Action Plan Revision 1, and subsequent updates
                        (Attachment G).

                        Report all confirmed and suspected COVID-19 cases to the local ERO Field
                        Office Director (or designee), Field Medical Coordinator, and local health
                        department immediately.

                        Evaluate all new admissions within five days of entering ICE custody to
                        determine whether the detainees fall within the populations identified by the
                        CDC as potentially being at higher risk for serious illness from COVID-19
                        and/or the subclasses certified in Fraihat v. ICE, --- F. Supp. 3d ---, 2020 WL
                        1932570 (C.D. Cal. Apr. 20, 2020), and notify the local ERO Field Office
                        Director (or designee) and the Field Medical Coordinator, as well as the
                        detainee and his or her counsel, as soon as practicable, but in no case more
                        than twelve hours of determining whether the detainee meets the criteria.
                        These populations and subclasses include:

                                 Older Adults (55 plus);

8
 Dedicated ICE detention facilities are facilities that house only ICE detainees. Dedicated ICE detention facilities may be ICE-
owned Service Processing Centers, privately owned Contract Detention Facilities, or facilities operated by state or local
governments that hold no other detention populations except ICE detainees.


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                  People who are pregnant;

                  People of all ages with chronic health conditions, including:
                     o Cancer;

                      o   Chronic kidney disease;

                      o   COPD (chronic obstructive pulmonary disease);

                      o   Immunocompromised state (weakened immune system) from solid
                          organ transplant);

                      o   Obesity (body mass index [BMI] of 30 or higher);

                      o   Serious heart conditions, such as heart failure, coronary artery
                          disease, or cardiomyopathies;

                      o   Sickle cell disease;

                      o   Type 2 diabetes mellitus;

                      o   Asthma (moderate-to-severe);

                      o   Cerebrovascular disease (affects blood vessels and blood supply to
                          the brain);

                      o   Cystic fibrosis;

                      o   Hypertension or high blood pressure;

                      o   Immunocompromised state (weakened immune system) from blood
                          or bone marrow transplant, immune deficiencies, HIV, use of
                          corticosteroids, or use of other immune weakening medicines;

                      o   Neurologic conditions, such as dementia;

                      o   Liver disease;

                      o   Pulmonary fibrosis (having damaged or scarred lung tissues);

                      o   Smoking (current and former);

                      o   Thalassemia (a type of blood disorder);

                      o   Type 1 diabetes mellitus.

                  People of all ages who are detained with a physical or mental impairment that
                  substantially limits one or more major life activities or who has a record of physical

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                    or mental impairment that substantially limits a major life activity.

                    Severe psychiatric illness, including Psychotic Disorder, Bipolar Disorder,
                    Schizophrenia or Schizoaffective Disorder, Major Depressive Disorder with
                    Psychotic Features, Dementia and/or a Neurocognitive Disorder, or
                    Intellectual Development Disorder (moderate, severe, or profound or that
                    make it difficult for the individual to participate in their own care, that make
                    it unlikely the individual will express symptoms, or that increase the risk of
                    complications from the virus.) Individuals of all ages who are detained with
                    a physical or mental impairment that substantially limits one or more major
                    life activities or who has a record of physical or mental impairment that
                    substantially limits a major life activity.

             Detainees who claim, or anyone claims on behalf of the detainee that the
             detainee meets the above criteria or are suspected to meet the criteria must be
             evaluated within five days of making the claim.

             Upon evaluation, the local ERO Field Office Director (or designee), the Field
             Medical Coordinator, and the detainee and his or her counsel must be notified as
             soon as practicable, but in no case more than twelve hours after the evaluation
             has occurred, as to whether the detainee meets the criteria.

             Notifica
             Administrator (HSA) (or equivalent) and contain the following subject line for
             ease of identificat                          -19 High Risk Detainee (A-
                                                        essage will provide the following
             information:

                    Detainee name;

                    Detention location;

                    Current medical issues and medications currently prescribed;

                    Facility medical Point of Contact (POC) and phone number.


                          NON-DEDICATED ICE DETENTION FACILITIES


  All non-dedicated ICE detention facilities and local jails housing ICE detainees must:

             Comply with the provisions of their relevant ICE contract or service agreement.

             Comply with the ICE national detention standards applicable to the facility,
             generally PBNDS 2011.

             Comply with the CDC Interim Guidance on Management of
             Coronavirus Disease 2019 (COVID-19) in Correctional and Detention

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           Facilities.

           Report all confirmed and suspected COVID-19 cases to the local ERO Field
           Office Director (or designee), Field Medical Coordinator, and local health
           department immediately.

           Evaluate all new admissions within five days of entering ICE custody to
           determine whether the detainees fall within the populations identified by the
           CDC as potentially being at higher risk for serious illness from COVID-19
           and/or the subclasses certified in Fraihat v. ICE, --- F. Supp. 3d ---, 2020 WL
           1932570 (C.D. Cal. Apr. 20, 2020), and notify both the ERO Field Office
           Director (or designee) and Field Medical Coordinator, as well as the detainee
           and his or her counsel, as soon as practicable, but
           in no case more than twelve hours after identifying any detainee who meets the
                             populations potentially being at higher risk for serious illness
           from COVID-19 and/or falls under any of the categories enumerated below:

                   Older Adults (55 plus);

                   People who are pregnant;

                   People of all ages with chronic health conditions, including:
                      o Cancer;

                         o   Chronic kidney disease;

                         o   COPD (chronic obstructive pulmonary disease);

                         o   Immunocompromised state (weakened immune system) from solid
                             organ transplant;

                         o   Obesity (body mass index [BMI] of 30 or higher);

                         o   Serious heart conditions, such as heart failure, coronary artery
                             disease, or cardiomyopathies;

                         o   Sickle cell disease;

                         o   Type 2 diabetes mellitus;

                         o   Asthma (moderate-to-severe);

                         o   Cerebrovascular disease (affects blood vessels and blood supply to
                             the brain);

                         o   Cystic fibrosis;

                         o   Hypertension or high blood pressure;


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                      o   Immunocompromised state (weakened immune system) from blood
                          or bone marrow transplant, immune deficiencies, HIV, use of
                          corticosteroids, or use of other immune weakening medicines;

                      o   Neurologic conditions, such as dementia;

                      o   Liver disease;

                      o   Pulmonary fibrosis (having damaged or scarred lung tissues);

                      o   Smoking;

                      o   Thalassemia (a type of blood disorder);

                      o   Type 1 diabetes mellitus.

                  People of all ages who are detained with a physical or mental impairment
                  that substantially limits one or more major life activities or who has a
                  record of physical or mental impairment that substantially limits a major
                  life activity.

                  Severe psychiatric illness, including Psychotic Disorder, Bipolar
                  Disorder, Schizophrenia or Schizoaffective Disorder, Major Depressive
                  Disorder with Psychotic Features, Dementia and/or a Neurocognitive
                  Disorder, or Intellectual Development Disorder (moderate, severe, or
                  profound or that make it difficult for the individual to participate in their
                  own care, that make it unlikely the individual will express symptoms, or
                  that increase the risk of complications from the virus.));Individuals of all
                  ages who are detained with a physical or mental impairment that
                  substantially limits one or more major life activities or who has a record
                  of physical or mental impairment that substantially limits a major life
                  activity.

           Detainees who claim or are being claimed by anyone on their behalf to meet the
           above criteria or are suspected to meet the criteria must be evaluated within
           five days of making the claim.

           Upon evaluation, both the local ERO Field Office Director (or designee), the
           Field Medical Coordinator, and the detainee and his or her counsel must be
           notified as soon as practicable, but in no case more than twelve hours after the
           evaluation has occurred, as to whether the detainee meets the criteria.

           Notification must
           must contain the following subject line for ease of ident
           of COVID-19 High Risk Detainee (A-                        standardized means of
           communicating this information to ICE, as established by agreement between
           the local ERO Field Office Director (or designee) and the Warden or
           Superintendent, are acceptable. At a minimum the HSA communication to ICE
           will provide the following information:

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                     Detainee name;

                     Detention location;

                     Current medical issues and medications currently prescribed;

                     Facility medical POC and phone number.



                                 ALL FACILITIES HOUSING ICE DETAINEES


  In addition to the specific measures listed above, all detention facilities housing ICE
  detainees must also comply with the following:

  STANDARDS FOR HIGH RISK (VULNERABLE) POPULATIONS

  Healthcare:
  As indicated above, the CDC and the court order in Fraihat v. ICE, --- F. Supp. 3d ---, 2020
  WL 1932570 (C.D. Cal. Apr. 20, 2020), define certain high risk (vulnerable) populations
  that are at increased risk of severe illness from COVID-19. These conditions include the
  elderly (See CDC Guidance for Older Adults) and medically vulnerable individuals.
  (https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical
  conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F20
  19-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html).

  High risk (vulnerable) detainees must be provided the following services for identification,
  testing and screening as described below:

        Identification
        All new admissions must be evaluated within five days of entering ICE custody to
        determine whether the detainees fall within the populations identified by the CDC
        and/or by the Fraihat               as potentially being at higher risk for serious
        illness, and the local ERO Field Office Director (or designee) and the Field Medical
        Coordinator must be notified within twelve hours of the determination whether the
        detainee meets the criteria.

        Detainee medical information and files on arrival might be incomplete. A detainee or
        his/her counsel may request and should be promptly provided with a copy of the
        medical file and may supplement medical records at any time during detention.
        Requests for inclusion of these files in the detainee                   are submitted to
        the facility medical staff through a local operating procedure (LOP) established by that
        facility. The facility medical staff shall review newly submitted records within five
        days of receipt and inform the detainee and his or her counsel of the result of the
        review. The communication process is include

        Testing

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             High risk (vulnerable) detainees will receive COVID-19 services including:
                 o Testing upon intake to an ICE facility;
                 o Testing as directed by medical personnel based on CDC requirements
                    and clinical presentation of COVID-19 related illness;
                 o Testing upon release as dictated by the requirements of the receiving
                    country of record or other transfer/removal/release requirements.
                 o Testing upon release to the community or transfer to another detention
                    facility;
                 o Detainees who test positive will be isolated as described in the PRR
                    until medically cleared in accordance to CDC guidelines;
                 o High risk (vulnerable) detainees who have a documented positive
                    COVID-19 test within the last three months and were cleared in
                    accordance to CDC guidelines do not need to be retested on a weekly
                    basis;
                 o High risk (vulnerable) detainees who test positive within 3 months of
                    their original positive COVID-19 test, cleared isolation precautions,
                    and who remain asymptomatic do not need to be isolated or quarantined
                    due to recurrent or persistent positive results.
      Screening
             High risk (vulnerable) detainees must receive all normally prescribed screening
             for COVID-19 including:
                 o Temperature screening and verbal screening for symptoms of COVID-
                    19 and contacts with COVID-19 cases of all new entrants.
                 o Verbal screening for symptoms of COVID-19 and contact with
                    COVID-19 cases must include the following questions based on the
                    CDC Interim Guidance: Managing COVID-19 in
                    Correctional/Detention Facilities:
                             Today or in the past 24 hours, have you had any of the
                             following symptoms:
                             Fever, felt feverish, or had chills?
                             Cough?
                             Difficulty breathing?
                             Chills?
                             Muscle pain?
                             Sore throat?
                             New loss of taste or smell?
                             In the past fourteen days, have you had contact with a person
                             known to be infected with COVID-19 where you were not
                             wearing the recommended proper PPE?

             This temperature and verbal screening of high risk (vulnerable) detainees will
             be conducted twice daily during detention utilizing a structured screening tool
             and be documented in the facility records.

      Minimum Care and Hospitalization

             All detainees are provided medical care as described within the PRR.
             Detention facilities must                   Interim Guidance on Management
             of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention

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               Facilities, updated here on October 7, 2020, and Clinical Care for Individuals
               with COVID-19, updated here on September 10, 2020, for care
               recommendations.

     Asymptomatic COVID-19 Positive

  A nurse or medical provider must verify the absence of COVID-19 symptoms. If
  asymptomatic:

         Educate the detainee on symptoms of COVID-19 infection and instruct detainees to
         report if they have any symptoms to medical staff at sick call or to the custody
         officer (who will notify medical staff)
         Perform daily sick call rounds
         Obtain daily vital signs to include pulse oximetry.

  Have the detainee complete the 10-day isolation period and fulfill criteria required to release
  from isolation.

     Symptomatic COVID-19 Positive

  If a detainee is noted to have symptoms of COVID-19, the following care elements are
  advised:

         A medical provider will perform initial evaluation to determine their care plan and
         housing placement.
         Nurse or medical provider assessment will be performed daily.
         Vital signs will be performed more frequently as ordered by the medical provider to
         include pulse oximetry for detainees with medical conditions that place them at
         higher risk for complications of COVID-19 infection and those detainees
         manifesting more severe symptoms.

  Have the detainee complete the 10-day isolation period until criteria required to release
  from isolation has been met. A detainee who was severely ill with COVID-19 or who has a
  severely weakened immune system (immunocompromised) due to a health condition or
  medication may require a longer period of isolation (up to 20 days) and may require testing
  to determine when the detainee can be released from isolation.

  COVID-19 Positive detainees determined to be at high-risk of complications from COVID-
  19 or more severely affected symptomatic detainees may require a higher level of
  monitoring or care and should be housed in the medical housing unit or infirmary area of the
  facility or, if unavailable, hospitalized as detailed below.

     Hospitalized COVID-19 Positive

  Detainees who require a higher level of care than can be safely provided at the detention
  facility must be referred to community medical resources when needed. Facility staff will
  defer medical care management decisions to the off-site medical provider caring for the
  detainee.


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  The following infor                             Interim Guidance on Management of
  Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities:

     Medical Isolation of Individuals with Confirmed or Suspected COVID-19

  NOTE: Some recommendations below apply primarily to facilities with onsite healthcare
  capacity. Facilities without onsite healthcare capacity, or without sufficient space to
  implement effective medical isolation, must local public health options to ensure that
  individuals with confirmed or suspected COVID-19 will be appropriately isolated,
  evaluated, tested, and given care.

  As soon as an individual develops symptoms of COVID-19 or tests positive for SARS-CoV-
  2, the individual must be provided with a face mask, if not already wearing one and if it can
  be worn safely, and immediately placed under medical isolation in a separate environment
  from other individuals, and medically evaluated.

  Ensure that medical isolation for COVID-19 is distinct from administrative or disciplinary
  segregation. Due to limited housing units within many correctional facilities, individuals
  may be medically isolated in spaces used for administrative or disciplinary segregation,
  however medical isolation shall be operationally distinct from administrative or disciplinary
  segregation to provide access to programs and services to the fullest extent possible as
  clinically permitted. For example:

         Ensure that individuals under medical isolation receive regular visits from medical
         staff and have access to mental health services.
         Make efforts to provide access to radio, television, reading materials, personal
         property, telephones, recreation, and commissary to the fullest extent possible.
         Consider allowing increased telephone privileges without a cost barrier to maintain
         mental health and connection with others while isolated.
         Communicate regularly with isolated individuals about the duration and purpose of
         their medical isolation period.

                                  outside the medical isolation space to a clinically necessary
 minimum.

         Provide medical care to isolated individuals inside the medical isolation space,
         unless they need to be transferred to a healthcare facility.
         Serve meals inside the medical isolation space.
         Refrain from group activities.

  Assign isolated individual(s) to dedicated bathrooms with regular access to restrooms and
  showers. Clean and disinfect areas used by infected individuals frequently on an ongoing
  basis during medical isolation with an approved cleaning solution used in the strength and in
  a manner as recommended by the product label. Ensure that the individual is wearing a face
  mask if they must leave the medical isolation space for any reason, and whenever another
  individual enters. Provide clean face masks as needed. Face masks must be washed routinely
  and changed when visibly soiled or wet.

  If the facility is housing individuals with confirmed COVID-19 as a cohort:

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         Only individuals with laboratory-confirmed COVID-19 should be placed under
         medical isolation as a cohort. Do not cohort those with confirmed COVID-19 with
         those with suspected COVID-19, or with close contacts of individuals with
         confirmed or suspected COVID-19.
         Do not house individuals with undiagnosed respiratory infection (who do not meet
         the criteria of suspected COVID-19) with individuals with suspected COVID-19.
         Ensure that cohorted groups of people with confirmed COVID-19 wear face masks
         whenever anyone (including staff) enters the isolation space. (Anyone who has
         trouble breathing, or is unconscious, incapacitated or otherwise unable to remove the
         mask without assistance should not wear a face mask.)
         Designate space for cohort medical isolation in a manner that reduces the chance of
         cross-contamination across different parts of the facility.

  If the facility is housing individuals with confirmed COVID-19 as a cohort, use a well-
  ventilated room with solid walls and a solid door that closes fully.

  If possible, limit medical transfers to another facility or within the facility to those necessary
  for care. See Transporting Individuals with Confirmed and Suspected COVID-19 and
  Quarantined Close Contacts section for safe transport guidance.

  Staff assignments to medical isolation should remain as consistent as possible with limited
  movements to other parts of the facility. Staff shall wear recommended PPE as appropriate
  for their level of contact with the individual under medical isolation.

  Staff shall ensure that they change PPE when leaving the isolation space to prevent cross
  contamination. If PPE supplies necessitate reuse, ensure that staff move only from areas of
  low to high exposure risk while wearing the same PPE. Ensure that staff are trained in
  infection control practices, including use of recommended PPE.

  Minimize transfer of individuals with confirmed or suspected COVID-19 between spaces
  within the facility.

  Provide individuals under medical isolation with tissues and, if permissible, a lined no-touch
  trash receptacle. Instruct them to:

         Cover their mouth and nose with a tissue when they cough or sneeze.
         Dispose of used tissues immediately in the lined trash receptacle.

  Wash hands immediately with soap and water for at least 20 seconds. If soap and water are
  not available, clean hands with an alcohol-based hand sanitizer that contains at least 60%
  alcohol (where security concerns permit). Ensure that hand washing supplies are continually
  restocked.

  Maintain medical isolation until the most current CDC criteria for discontinuing home-based
  isolation have been met. These criteria have changed since CDC corrections guidance was
  originally issued and may continue to change as new data become available.

                                                                  -based isolation can be found in

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         the Discontinuation of Isolation for Persons with COVID-19 Not in Healthcare
         Settings Interim Guidance.
         Detailed information about the data informing the symptom-based strategy, and
         considerations for extended isolation periods for persons in congregate settings
         including corrections, can be found here.
         If persons will require ongoing care by medical providers, discontinuation of
         transmission-based precautions (PPE) should be based on similar criteria found here.

     Clinical Care for Individuals with COVID-19

  Facilities must ensure that incarcerated/detained individuals receive medical evaluation and
  treatment at the first signs of COVID-19 symptoms.

     If a facility is not able to provide such evaluation and treatment, a plan must be in place
     to safely transfer the individual to another facility or local hospital (including notifying
     the facility/hospital in advance). See Transport section. The initial medical evaluation
     must determine whether a symptomatic individual is at increased risk for severe illness
     from COVID-19. Persons at increased risk may include older adults and persons of any
     age with serious underlying medical conditions, including chronic kidney disease,
     serious heart conditions, and Type-2 diabetes. See                                     list and
     check regularly for updates as more data become available to inform this issue.
     Based on available information, pregnant people seem to have the same risk of COVID-
     19 as adults who are not pregnant. However, much remains unknown about the risks of
     COVID-19 to the pregnant person, the pregnancy, and the unborn child. Prenatal and
     postnatal care is important for all pregnant individuals, including those who are detained.
     Visit the CDC website for more information on pregnancy and breastfeeding in the
     context of COVID-19.

  Staff evaluating and providing care for individuals with confirmed or suspected COVID-19
  must follow the CDC Interim Clinical Guidance for Management of Patients with
  Confirmed Coronavirus Disease (COVID-19) and monitor the guidance website regularly
  for updates to these recommendations.

  Healthcare staff must evaluate persons with COVID-19 symptoms and those who are close
  contacts of someone with COVID-19 in a separate room, with the door closed if possible,
  while wearing recommended PPE and ensuring that the individual being evaluated is
  wearing a face mask.

     If possible, designate a room near each housing unit to evaluate individuals with
     COVID-19 symptoms, rather than having symptomatic individuals walk through the
     facility to be evaluated in the medical unit.

  Clinicians are strongly encouraged to test for other causes of respiratory illness (e.g.,
  influenza). However, presence of another illness such as influenza does not rule out COVID-
  19.

  When evaluating and treating persons with symptoms of COVID-19 who do not speak
  English, use a language line or provide a trained interpreter.


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  Additionally, ICE will make custody determinations on a case-by-case basis, pursuant to
  applicable legal standards, while giving due consideration to the public health and each
  individual s health risk and other factors. The custody review must determine if a continued
  detention is appropriate regardless of a detainee mandatory detention status given the
  current COVID-19 pandemic.

  Custody Determinations:

      For those cases identified as meeting any of the subclass criteria, the Field Office Director must
     validate the cases with assistance from the Field Medical Coordinator (FMC) and/or facility medical
     staff to ensure the conditions listed are still present and complete a custody review.
     All detainees age 55 and older must be identified, tracked, and have a custody review completed in
     a timely manner.
     All new detainees age 55 and older who are identified as meeting any of the subclass criteria must
     have a custody review completed within 5 days of entering ICE custody.
     Detainees age 55 and older, or pregnant, that are otherwise healthy and have none of the disabilities
     listed in Subclass Two, are only members of Subclass One. Therefore, only the RF1 alert code (RF1
       COVID-19 Risk Factor Subclass One) should be assigned to the case in EARM.
     All detainees determined to have any of the disabilities listed in Subclass Two should be assigned
     BOTH the RF1 and RF2 alert codes (RF2 COVID-19 Risk Factor Subclass Two) in EARM.
     Alert codes must stay in EARM for tracking. They should not be removed by the Field.
          o Important: Class member information is being provided to the plaintiffs in this
              case. Removing the alert codes compromises future reporting and the integrity of our data
              quality.
     Class membership continues upon any release from custody, so the alert codes should not be
     removed upon release.
     The custody review must consider for the appropriateness of detention given the current COVID-19
     pandemic; therefore, the COVID-19 Special Class code in EARM has been disabled/retired and
     should not be used.
          o Cases are now tracked using one or both of the RF1 COVID-19 Risk Factor Subclass
              One and RF2 COVID-19 Risk Factor Subclass Two alert codes only.
 When making a custody re-determination for a Fraihat subclass member, the SDDO shall ensure that the
 presence of a Risk Factor is given significant weight. Only in rare cases should a Fraihat subclass
 member not subject to mandatory detention remain detained, and as previously instructed in the ongoing
 docket review, a justification for continued detention is required. Fraihat subclass members subject to
 INA § 236(c) mandatory detention must also receive custody determinations. The SDDO must not apply
 the Docket Review Guidance rule against release of aliens detained pursuant to INA § 236(c) detainees
 so inflexibly that none of the Fraihat subclass members are released. Although traditional factors, such
 as danger to the community and risk of flight, may be considered, under the terms of the PI, aliens
 subject to detention pursuant to INA § 236(c) should continue to be detained only after individualized
 consideration of the risk of severe illness or death, with due regard to the public health emergency.
 Blanket or cursory denials do not comply with th
 determinations. Fraihat subclass members that are released should be enrolled into a GPS program when
 possible.


  In addition to the specific measures listed above, all detention facilities housing ICE
  detainees must also comply with the following:


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  PREPAREDNESS

  Administrators should plan and prepare for COVID-19 by ensuring that all persons in the
  facility know the symptoms of COVID-19 and how to respond if they develop symptoms. Other
  essential actions include developing contingency plans for reduced workforces due to absences,
  coordinating with public health and correctional partners, and communicating clearly with staff
  and detainees about these preparations and how they may temporarily alter daily life.

             Develop information-sharing systems with partners.

                    Identify points of contact in relevant state, local, tribal, and/or territorial
                    public health department before cases develop.

                    Communicate with other correctional and detention facilities in the same
                    geographic area to share information including disease surveillance and
                    absenteeism patterns among staff.

             Review existing pandemic, influenza, all-hazards, and disaster plans, and revise for
             COVID-
             standards.

             Offer the seasonal influenza vaccine to all detained persons (existing populations
             and new admissions) and staff throughout the influenza season, where possible.

             Staffing:

                    Review sick leave policies to ensure that staff can stay home when sick and
                    determine which officials will have the authority to send symptomatic staff
                    home. Staff who report for work with symptoms of COVID-19 must be sent
                    home and advised to follow CDC-recommended steps for persons exhibiting
                    COVID-19 symptoms.

                    Management should consider requiring asymptomatic staff who have been
                    identified as close contacts of a confirmed COVID-19 case to home
                    quarantine to the maximum extent possible, while understanding the need to
                    maintain adequate staffing levels of critical workers. Workers in critical
                    infrastructure sectors (including correctional and detention facilities) may be
                    permitted to work if they remain asymptomatic after a potential exposure to
                    SARS-CoV-2, provided that worker infection prevention recommendations
                    and controls are implemented, including requiring the staff member to wear
                    a face mask (unless contraindicated) at all times while in the workplace for
                    14 days after the last exposure (if not already wearing one due to universal
                    use of face masks). If the exposed staff members test positive, they should
                    follow local health department and health care provider instructions
                    regarding home isolation.

                    Staff who test positive for COVID-19 must inform their workplace and
                    personal contacts immediately. If a staff member has a confirmed COVID-19
                    infection, the relevant employers will inform other staff of their possible

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                                exposure to COVID-19 in the workplace consistent with any legal limitations
                                on the sharing of such information. Exposed employees must then self-
                                monitor for symptoms (e.g., fever, cough, or shortness of breath).

                                Identify staff whose duties would allow them to work from home in order to
                                promote social distancing and further reduce the risk of COVID-19
                                transmission.

                                Determine minimum levels of staff in all categories required for the facility to
                                function safely.

                                Follow the Public Health Recommendations for Community-Related
                                Exposure.9

                                Follow guidance from the Equal Employment Opportunity Commission,
                                available here, when offering testing to staff. Any time a positive test result
                                is identified, ensure that the individual is rapidly notified, connected with
                                appropriate medical care, and advised how to self-isolate.

                      Supplies:

                                Ensure that sufficient stocks of hygiene supplies (soap, hand sanitizer,
                                tissues); personal protective equipment (PPE) including facemasks, N95
                                respirators, eye protection, disposable medical gloves, and disposable
                                gowns/one-piece coveralls; and medical supplies (consistent with the
                                healthcare capabilities of the facility) are on hand and there is a plan in place
                                to restock as needed if COVID-19 transmission occurs within the facility.

                                Note that shortages of N95 respirators are anticipated during the COVID-19
                                response. Based on local and regional situational analysis of PPE supplies,
                                face masks should be used when the supply chain of N95 respirators cannot
                                meet the demand.

                                Follow COVID-19: Optimizing Supply of PPE and Other Equipment. 10

                                Ensure that staff and detainees are trained to don, doff, and dispose of PPE
                                they will need to use while performing duties within the scope of their
                                responsibilities.

                                Soiled PPE items should be disposed in leak-proof plastic bags that are tied at
                                the top and not re-opened. Bags can be disposed of in the regular solid waste
                                stream.

                                Cloth face masks should be worn by detainees and staff (when PPE

9
  Attachment H, Centers of Disease Control and Prevention, Public Health Guidance for Community-Related Exposure,
https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-recommendations.html (last visited October 15, 2020).
10
   Attachment I, Centers for Disease Control and Prevention, Optimizing Personal Protective Equipment (PPE) Supplies,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/ (last visited October 15, 2020).

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                  supply is limited) to help slow the spread of COVID-19. Cloth face masks
                  should:

                      o   Fit snugly but comfortably against the side of the face be secured with
                          ties or ear loops where possible or securely tied;

                      o   Include multiple layers of fabric;

                      o   Allow for breathing without restriction;

                      o   Be able to be laundered and machine dried without damage or change
                          to shape;

                      o   Be provided at no cost to detainees.

                  Cloth face masks are contraindicated for children under two years of age,
                  anyone who has trouble breathing, is unconscious, incapacitated or
                  otherwise unable to remove the mask without assistance.

           Hygiene:

                  Reinforce healthy hygiene practices, and provide and restock hygiene
                  supplies throughout the facility, including in bathrooms, food preparation and
                  dining areas, intake areas, visitor entries and exits, visitation rooms, common
                  areas, medical, and staff-restricted areas (e.g., break rooms).

                  Require all persons within the facility to cover their mouths and noses with
                  their elbows (or ideally with a tissue) rather than with their hands when they
                  cough or sneeze, and to throw all tissues in the trash immediately after use.

                  Provide detainees and staff no-cost access to tissues and no-touch receptacles
                  for disposal.

                  Require all persons within the facility to maintain good hand hygiene by
                  regularly washing their hands with soap and water for at least 20 seconds,
                  especially after coughing, sneezing, or blowing their noses; after using the
                  bathroom; before eating or preparing food; before taking medication; and
                  after touching garbage.

                  Provide detainees and staff no-cost, unlimited access to supplies for hand
                  cleansing, including liquid or foam soap, running water, hand drying machines
                  or disposable paper towels, and no-touch trash receptacles. If bar soap is used,
                  ensure that it is does not irritate the skin as this would discourage frequent hand
                  washing and ensure that individuals are not sharing bars of soap.

                  Provide alcohol-based hand sanitizer with at least 60 percent alcohol where
                  permissible based on security restrictions.

                  Require all persons within the facility to avoid touching their eyes, noses, or

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                                mouths without cleaning their hands first.

                                If possible, inform potential visitors, including inspectors and auditors, before they
                                travel to the facility that they should expect to be screened for COVID-19 and will
                                be unable to enter the facility if they do not clear the screening process or if they
                                decline screening.

                                Post signage throughout the facility reminding detained persons and staff to
                                practice good hand hygiene and cough etiquette (printable materials for
                                community-based settings can be found on the CDC website). Signage must
                                be in English and Spanish, as well as any other common languages for the
                                detainee population at the facility.

                                Prohibit sharing of eating utensils, dishes, and cups.

                                Prohibit non-essential personal contact such as handshakes, hugs, and high-
                                fives.

                       Provide individuals about to be released from ICE custody with COVID-19 prevention
                       information, hand hygiene supplies, and face masks.

                       Cleaning/Disinfecting Practices:

                                Facilities must adhere to CDC recommendations for cleaning and
                                disinfection during the COVID-19 response. 11

                                All cleaning and disinfecting materials must be stored in secure areas, in
                                their original containers, and with the                                 ch
                                container.

                                Safe cleaning products must be used in the quantities and in a manner as
                                indicated on the manufacturer s product label.

                                Several times a day using household cleaners and Environmental Protection
                                Agency-registered disinfectants, clean and disinfect surfaces and objects that
                                are frequently touched, especially in common areas (e.g., doorknobs, light
                                switches, sink handles, countertops, toilets, toilet handles, recreation
                                                                            aning products is located here.

                                Staff should clean shared equipment several times per day and on a
                                conclusion-of-use basis (e.g., radios, service weapons, keys, handcuffs).

                                The facility designee for environmental health is responsible for
                                ensuring that cleaning supplies and frequency of cleaning schedule are
                                sufficient to maintain a high level of sanitation within housing areas
                                without negatively impacting the health of detainees or staff.

11
  Attachment J, Centers for Disease Control and Prevention, Cleaning and Disinfection for Community Facilities,
https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/cleaning-disinfection.html (last visited October 15, 2020).

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                  Ensure that transport vehicles are thoroughly cleaned after carrying a
                  confirmed or suspected COVID-19 case.

                  Facility leadership will ensure that there is adequate oversight and
                  supervision of all individuals responsible for cleaning and disinfecting these
                  areas.

                  Facilities shall report confirmed or suspected cases of detainees suffering
                  adverse reactions to cleaning supplies or chemicals to the local ERO Field
                  Office Director (or designee) and Field Medical Coordinator. ICE will
                  promptly investigate reports of adverse reactions to cleaning supplies or
                  chemicals used for disinfection of COVID-19.
        CDC Recommended Cleaning Tips
           Hard (Non-porous) Surfaces:

                  If surfaces are dirty, they should be cleaned using a detergent or soap and
                  water prior to disinfection.

                  For disinfection, most common EPA-registered household disinfectants
                  should be effective.

                   o   A list of products that are EPA-approved for use against the virus that causes
                       COVID-19 is available here
                       cleaning and disinfection products for concentration, application, method,
                       contact time, etc.

                   o   Additionally, diluted household bleach solutions (at least 1000 ppm
                       sodium hypochlorite) can be used if appropriate for the surface. Follow
                                           uctions for application, ensuring a contact time of at
                       least one minute and allowing proper ventilation during and after
                       application. Check to ensure the product is not past its expiration date.
                       Never mix household bleach with ammonia or any other cleanser.
                       Unexpired household bleach will be effective against coronaviruses when
                       properly diluted.

                             Prepare a bleach solution by mixing:

                                   5 tablespoons (1/3 cup) bleach per gallon of water; or

                                   4 teaspoons bleach per quart of water.

           Soft (Porous) Surfaces:

                  For soft (porous) surfaces, such as carpeted floor, rugs, and drapes, remove
                  visible contamination if present and clean with appropriate cleaners indicated
                  for use on these surfaces. After cleaning:


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                                  o    If the items can be laundered, launder items in accordance with the

                                       for the items and then dry items completely.

                                  o    Otherwise, use products that are EPA-approved for use against the virus
                                       that causes COVID-19 and that are suitable for porous surfaces. 12

                        Electronics:

                                 For electronics such as tablets, touch screens, keyboards, remote controls, and
                                 ATM machines, remove visible contamination if present.

                                  o                                                                           disinfection
                                       products.

                                  o    Consider use of wipeable covers for electronics.

                                  o    If no manufacturer guidance is available, consider the use of alcohol-based
                                       wipes or sprays containing at least 70 percent alcohol to disinfect touch
                                       screens. Dry surfaces thoroughly to avoid pooling of liquids.

                        Linens, Clothing, and Other Items That Go in the Laundry:

                                 In order to minimize the possibility of dispersing virus through the air, do not
                                 shake dirty laundry.


                                 instructions. If possible, launder items using the warmest appropriate water
                                 setting for the items and dry items completely. Dirty laundry that has been in
                                                                                               items.

                                 Clean and disinfect hampers or other carts for transporting laundry according
                                 to guidance above for hard or soft surfaces.

                                 Consider establishing an on-site laundry option for staff so that they can change out
                                 of their uniform, launder them at the facility, and wear street clothes and shoes
                                 home. If on-site laundry for staff is not feasible, encourage them to change clothes
                                 before they leave the work site, and provide a location for them to do so.

           PREVENTION

           Detention facilities can mitigate the introduction of COVID-19 from the community and
           reduce transmission if it is already inside by reinforcing good hygiene practices among
           incarcerated/detained persons, staff, and visitors (including increasing access to soap and paper
           towels), intensifying cleaning/disinfection practices, and implementing social distancing

12
  Attachment K, U.S. Environmental Protection Agency, List N: Disinfectants for Coronavirus (COVID-19),
https://www.epa.gov/pesticide-registration/list-n-disinfectants-coronavirus-covid-19 (last visited October 15, 2020).

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  strategies. Because many individuals infected with COVID-19 do not display symptoms, the
  virus could be present in facilities before cases are identified. Both good hygiene practices and
  social distancing are critical in preventing further transmission:

             Perform pre-intake screening for all staff and new entrants for COVID-19
             symptoms.

             Screening should take place before staff and new admissions enter the facility or just
             inside the facility, where practicable. For new admissions, this should occur before
             beginning the intake process, in order to identify and immediately isolate any
             detainee with symptoms before the individual comingles with others or is placed in
             the general population. This should include temperature screening of all staff and
             new entrants as well as a verbal symptoms check.

                     Verbal screening for symptoms of COVID-19 and contact with COVID-19
                     cases should include the following questions based on the CDC Interim
                     Guidance: Managing COVID-19 in Correctional/Detention Facilities:

                      o   Today or in the past 24 hours, have you had any of the following
                          symptoms:

                                  Fever, felt feverish, or had chills?

                                  Cough?

                                  Difficulty breathing?

                                  Chills?

                                  Muscle pain?

                                  Sore throat?

                                  New loss of taste or smell?

                      o   In the past fourteen days, have you had contact with a person known to
                          be infected with COVID-19 where you were not wearing the
                          recommended proper PPE?

                     If staff have symptoms of COVID-19 (e.g., fever, cough, shortness of breath),
                     they must be denied access to the facility.

                     If any new intake has symptoms of COVID-19:

                      o   Require the individual to wear a face mask;

                      o   Ensure that staff interacting with the symptomatic individual wears
                          recommended PPE;


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                   o     Isolate the individual and refer to healthcare staff for further evaluation;

                   o     Facilities without onsite healthcare staff must contact their state, local,
                         tribal, and/or territorial health department to coordinate effective
                         isolation and necessary medical care;

                  If an individual is a close contact of a known COVID-19 case or has traveled
                  to an affected area, but has no COVID-19 symptoms, quarantine the
                  individual and monitor for symptoms two times per day for fourteen days.

           Consider testing all newly detained persons before they join the rest of the population in the
           detention facility. For further information, refer to the TESTING section below and CDC
           Interim Considerations for SARS-CoV-2 Testing in Correctional and Detention Facilities,
           available here.

           Visitation:

                  During suspended (social) or modified (legal) visitation programs, the
                  facilities should provide access to virtual visitation options where available.
                  When not possible, verbally screen all visitors on entry for symptoms of
                  COVID-19 and perform temperature checks, when possible. ICE continues to
                  explore opportunities to enhance attorney access while legal visits are being
                  impacted. For facilities at which immigration hearings are conducted or
                  where detainees are otherwise held who have cases pending immigration
                  proceedings, this may include:

                   o     Requiring facilities to establish a process for detainees/attorneys to
                         schedule appointments and facilitate the calls;

                   o     Leveraging available technology (e.g., tablets, smartphones,
                         phones, VTC) to facilitate attorney/client communication;

                   o     Working with the various detention contractors and telephone service
                         providers to ensure that all detainees receive some number of free calls
                         per week.

                  Communicate with the public about any changes to facility operations,
                  including visitation programs. Facilities are encouraged to prohibit or, at a
                  minimum, significantly adopt restricted visitation programs. Facilities are
                  required to suspend all volunteer work program (VWP) assignments for
                  detainees assigned to food service and other VWP assignments, where
                  applicable, that require individuals to interact with each other at distances of
                  less than six feet. Any detainee participating in a VWP assignment is
                  required to wear appropriate PPE for the position at all times (e.g.,
                  disposable gloves, masks, goggles). Detainees in isolation or quarantine may
                  not be assigned to a VWP detail.

           Transfers of ICE detainees and non-ICE detained populations to and from other
           jurisdictions and facilities are discontinued unless necessary for medical evaluation,

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           medical isolation/quarantine, clinical care, extenuating security concerns, release or
           removal, or to prevent overcrowding.
                 Detainee transfers for any other reason require pre-approval from the local
                 ERO Field Office Director.
                 All detainees who are transferred, removed or released must be cleared
                 medically in accordance with ERO guidelines.

           When necessary to transport individuals with confirmed or suspected COVID-19, if
           the vehicle is not equipped with emergency medical service (EMS) features, at a
           minimum, drive with the windows down and ensure that the fan is set to high, in
           non-recirculating mode. If the vehicle has a ceiling hatch, keep it open. Everyone in
           the vehicle must wear a mask.

           Consider suspending work release programs for inmates at shared facilities to reduce
           overall risk of introduction and transmission of COVID-19 into the facility.

           Require all staff (both medical and correctional) to wear PPE when encountering or
           interacting with any ICE detainee at a distance of less than six feet.

           Required PPE should always be worn by staff, even if separated by a distance of six
           feet or more, if the individual appears feverish or ill and/or with respiratory
           symptoms while interviewing, escorting, or interacting in other ways.

           Additional Measures to Facilitate Social Distancing:

                   o Although strict social distancing may not be possible in congregate
                     settings such as detention facilities, all facilities housing ICE
                     detainees should implement the following measures to the extent
                     practicable. Efforts should be made to reduce the population to
                     approximately 75 percent of capacity.

                   o Where detainee populations are such that cells are available, to the extent
                     possible, house detainees in individual rooms.

                   o Recommend that detainees sharing sleeping quarters sleep             -to-

                   o Extend recreation, law library, and meal hours and stagger detainee
                     access to the same in order to limit the number of interactions between
                     detainees from other housing units.

                   o Staff and detainees should be directed to avoid congregating in groups of
                     ten or more, employing social distancing strategies at all times.

                   o Whenever possible, all staff and detainees should maintain a distance of
                     six feet from one another.

                   o If practicable, beds in housing units should be rearranged to allow for six
                     feet of distance between the faces of detainees.


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                     If group activities are discontinued, it is important to identify alternative
                     forms of activity to support the mental health of detainees

                     Extended lockdowns must not be used as a means of COVID-19 prevention.


 MANAGEMENT

 If there has been a suspected COVID-19 case inside the facility (among incarcerated/detained
 persons, staff, or visitors who have recently been inside), facilities shall begin implementing
 management strategies while test results are pending. Essential management strategies include
 placing cases and individuals with symptoms under medical isolation, quarantining their close
 contacts, and facilitating necessary medical care while observing relevant infection control and
 environmental disinfection protocols and wearing recommended PPE.

 ICE Custody Review for Potentially High-Risk Detainees

 Upon being informed of a detainee who may potentially be at higher risk for serious illness from
 exposure to COVID-19, ERO will review the case to determine whether continued detention is
 appropriate. ICE will make such custody determinations on a case-by-case basis, pursuant to the
 applicable legal standards, with due consideration of the public health considerations implicated.

              Considerable effort should be made to quarantine all new admissions and test all
              new intakes upon arrival.

              To do this, facilities should consider cohorting daily admissions; two days of new
              admissions, or multiple days of new admissions, in designated areas prior to
              placement into the general population. Given significant variations among
              facilities, cohorting options and capabilities will
              network. ICE encourages all facilities to adopt the most effective cohorting
              methods practicable based on the individual facility characteristics, taking into
              account the number of new admissions anticipated per day.

              Based on the results of testing and clinical evaluation, detainees at intake should be
              separated into multiple groups: Detains who tested negative and have no
              symptoms, detainees who test positive but have no symptoms, and detainees who
              either test positive for COVID-19 and have symptoms or are diagnosed with
              COVID-19 based on symptoms.

              All new arrivals to ICE detention facilities require COVID-19 testing within 12
              hours of arrival. Collection timeframe may extend to 24 hours if facility collection
              logistics require additional time.

              Detainees pending test results who are asymptomatic should be placed in a routine
              intake quarantine. Detainees pending test results who are symptomatic should be
              placed in isolation. Detainees who test negative during the intake process will
              complete the routine 14-day quarantine prior to release to general population

              Detainee who test positive during the intake process can be released from isolation

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           when they meet the criteria for discontinuing isolation described below using either
           a time-based strategy or symptom-based strategy.

           For suspected or confirmed COVID-19 cases:
                  Isolate the individual immediately in a separate environment from other
                  individuals. Facilities should make every possible effort to isolate persons
                  individually. Each isolated individual should be assigned his or her own
                  housing space and bathroom where possible. Isolating ill detainees as a group
                  should only be practiced if there are no other available options.
                  If single isolation rooms are unavailable, individuals with laboratory-
                  confirmed COVID-19 should be isolated together as a cohort separate from
                  other detainees, including those with pending tests. Febrile detainees who are
                  pending testing or are waiting for test results should be isolated together as a
                  group separate from laboratory-confirmed COVID-19 cases and other
                  detainees. Confirmed COVID-19 cases should not be cohorted with suspected
                  cases or case contacts.

                  Housing should maintain separation of groups by common criteria (e.g.,
                  COVID-19 test results positive, febrile or symptomatic pending testing or
                  results, asymptomatic/exposed).

                  Ensure that the individual is always wearing a face mask (if it does not
                  restrict breathing) when outside of the isolation space, and whenever
                  another individual enters the isolation room. If wearing masks will
                  negatively impact breathing, facilities should ensure caregivers are aware
                  of that fact and implement restrictions on contact as appropriate during
                  isolation (e.g., increased social distancing, PPE use by people who enter
                  space, moving and handling people separately, increased cleaning, etc.).
                  Masks should be changed at least daily, and when visibly soiled or wet.

                  In the event that a facility requires more isolation beds for detainees, ICE must be
                  promptly notified so that transfers to other facilities, transfers to hospitals, or
                  releases can be coordinated immediately. Until such time as the transfer or release is
                  arranged, the facility must be especially mindful of cases that are at higher risk of
                  severe illness from COVID-19. Ideally, symptomatic detainees should not be
                  isolated with other individuals. If isolating of symptomatic COVID-positive
                  detainees as a group is unavoidable, make all possible accommodations until transfer
                  occurs to prevent transmission of other infectious diseases to the higher-risk
                  individual (e.g., allocate more space for a higher-risk individual within a shared
                  isolation room).

                                                                                         -19
                  cases here, depending on the space available in a particular facility. In
                  order of preference, individuals under medical isolation should be
                  housed:

                 o Separately, in single cells with solid walls (i.e., not bars) and solid doors
                   that close fully.


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                 o Separately, in single cells with solid walls but without solid doors.

                 o As a cohort, in a large, well-ventilated cell with solid walls and a solid
                   door that closes fully. Employ social distancing strategies related to
                   housing in the Prevention section above.

                 o As a cohort, in a large, well-ventilated cell with solid walls but without a
                   solid door. Employ social distancing strategies related to housing in the
                   Prevention section above.

                 o As a cohort, in single cells without solid walls or solid doors (i.e., cells
                   enclosed entirely with bars), preferably with an empty cell between
                   occupied cells. (Although individuals are in single cells in this scenario,
                   the airflow between cells essentially makes it a cohort arrangement in the
                   context of COVID-19.)

                 o As a cohort, in multi-person cells without solid walls or solid doors (i.e.,
                   cells enclosed entirely with bars), preferably with an empty cell between
                   occupied cells. Employ social distancing strategies related to housing in the
                   Prevention section above.

                  When detainees must be housed in the spaces used for administrative segregation or
                  solitary confinement, ensure that medical isolation is operationally distinct from
                  administrative or disciplinary segregation, or any punitive form of housing, even if
                  the same housing spaces are used for both. For example:

                  o       Ensure that individuals under medical isolation receive regular visits from
                          medical staff and have access to mental health services.

                  o       Ensure that detainees are provided similar access to radio, television, reading
                          materials, personal property, telephone, recreation and commissary to the fullest
                          extent possible.

                  o       Consider allowing increased telephone privileges without a cost barrier to
                          maintain mental health and connection with others while isolated.

                  o       Communicate regularly with isolated individuals about the duration and purpose
                          of their medical isolation period.

                                                                              l isolation space to an
                absolute minimum.

                      o     Provide medical care to isolated individuals inside the medical isolation space,
                            unless they need to be transferred to a healthcare facility. See Infection
                            Control and Clinical Care sections for additional details.

                      o     Serve meals inside the medical isolation space.

                      o     Exclude the individual from all group activities.

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                      o     Assign the isolated individual(s) a dedicated bathroom when possible. When a
                            dedicated bathroom is not feasible, do not reduce access to restrooms or
                            showers as a result. Clean and disinfect areas used by infected individuals
                            frequently on an ongoing basis during medical isolation.

                  Meals should be provided to COVID-19 cases in their isolation rooms.
                  Isolated cases should throw disposable food service items in the trash in their
                  isolation room. Non-disposable food service items should be handled with
                  gloves and washed with hot water or in a dishwasher. Individuals handling
                  used food service items must clean their hands after removing gloves.

                  Laundry from a COVID-19 case can be washed with another


                  o Individuals handling laundry from COVID-19 cases should wear
                    disposable gloves, discard gloves after each use, and clean their hands
                    after handling.

                  o Do not shake dirty laundry. This will minimize the possibility of
                    dispersing the virus through the air.

                  o
                          instructions. If possible, launder items using the warmest appropriate
                          water setting for the items and dry items completely.

                  o Clean and disinfect clothes hampers according to guidance above for
                    surfaces. If permissible, consider using a bag liner that either is disposable
                    or can be laundered.

                Ensure that the individual is wearing a face mask if they must leave the medical
                isolation space for any reason, and whenever another individual enters. Provide
                clean masks as needed. Masks should be washed routinely and changed when visibly
                soiled or wet.

                Maintain isolation until all the CDC criteria have been met. These criteria have
                changed since CDC corrections guidance was originally issued and may continue to
                change as new data become available. Monitor the sites linked below regularly for
                updates. This content will not be outlined explicitly in this document due to the rapid
                pace of change.

                      o                                                       -based isolation can be
                        found in the Discontinuation of Isolation for Persons with COVID-19 Not in
                        Healthcare Settings Interim Guidance.
                      o Detailed information about the data informing the symptom-based strategy,
                        and considerations for extended isolation periods for persons in congregate
                        settings including corrections, can be found here.
                      o If persons will require ongoing care by medical providers, discontinuation of
                        transmission-based precautions (PPE) should be based on similar criteria

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                                     found here.

        TESTING

                      With the increased availability of testing supplies and the increased understanding
                      of the epidemiology of COVID-19 transmission, expanded testing strategies are a
                      critical tool in the prevention and management of COVID-19 infections. This is
                      especially true in congregate settings such as detention facilities.
                               All new admissions to ICE detention facilities require COVID-19 testing
                               within 12 hours of arrival. Collection timeframe may extend to 24 hours if
                               facility collection logistics require additional time.
                               Testing of all new admissions before they join the rest of the population in
                               the facility, and housing them individually or in cohorts while test results
                               are pending help prevent potential transmission.

                                                                         considering diagnostic testing of
                      people with possible COVID-19 should continue to work with their local and state
                      health departments to coordinate testing through public health laboratories, or work
                      with commercial or clinical laboratories using diagnostic tests authorized for
                                                                                   15
                      emergency use by the U.S. Food and Drug                         Before testing large numbers
                      of asymptomatic individuals without known or suspected exposure, facility leadership
                      should have a plan in place for how they will modify operations based on test results.
                      In addition, COVID-19 testing can be utilized at any time during detention to detect new
                      cases of COVID-19, confirm detainee diagnosis, or in conjunction with other public health
                      actions to control outbreaks of COVID-19. CDC recommendations on planning for facility
                      wide testing may be found here.

                               CDC recommends SARS-CoV-2 testing with viral tests (i.e., nucleic acid or antigen
                               tests) for:

                                   o Individuals with signs or symptoms consistent with COVID-19;

                                   o Asymptomatic individuals with recent known or suspected exposure to
                                     SARS-CoV-2 to control transmission;

                                               To prevent continued transmission of the virus within a quarantined
                                               cohort, retesting those who originally tested negative every 3 to 7
                                               days could be considered, until no new cases are identified for 14
                                               days after the most recent positive result. The specific re-testing
                                               interval that a facility chooses could be based on the stage of the
                                               ongoing outbreak, the availability of testing supplies and capacity of
                                               staff to perform repeat testing, financial resources, the capacity of
                                               contract laboratories that will be performing the tests, and the
                                               expected wait time for test results.

                                   o Asymptomatic individuals without known or suspected exposure to SARS-
                                     CoV-2 for early identification in special settings;
15
  Attachment O, Centers of Disease Control and Prevention, Overview of Testing for SARS-CoV-2 (COVID-19),
https://www.cdc.gov/coronavirus/2019-nCoV/hcp/clinical-criteria.html (last visited October 15, 2020).

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                                  While not mandated, the CDC recommends facilities consider
                                  quarantine before release or transfer of asymptomatic individuals
                                  without known or suspected exposure to COVID-19 when
                                  appropriate based on detainee history.
                                  Detainees who previously tested positive for COVID-19 and were
                                  medically cleared could continue to test positive for a significant
                                  period of time.

                      o Individuals being tested to determine resolution of infection (i.e., test-based
                        strategy for Discontinuation of Transmission-based Precautions, HCP Return
                        to Work, and Discontinuation of Home Isolation);

                      o Individuals being tested for purposes of public health surveillance for SARS-
                        CoV-2.

                  CDC recommends using authorized nucleic acid or antigen detection assays that
                  have received an FDA EUA to test persons with symptoms when there is a concern
                  of potential COVID-19.

                  Testing is recommended for all close contacts of persons with SARS-CoV-2
                  infection. In some settings, broader testing, beyond close contacts, is recommended
                  as a part of a strategy to control transmission of SARS-CoV-2. Expanded testing
                  might include testing of individuals on the same unit or shift as someone with
                  SARS-CoV-2 infection, or even testing all individuals within a shared setting (e.g.,
                  facility-wide testing). In areas where testing resources are limited, CDC has
                  established a testing hierarchy for close contacts, which can be found here:

                  CDC does not currently recommend using antibody testing as the
                  sole basis for diagnosis of acute infection, and antibody tests are not
                  authorized by FDA for such diagnostic purposes. For the most
                  current information on CDC recommendations for antibody testing,
                  please see Interim Considerations for SARS-CoV-2 Testing in
                  Correctional and Detention Facilities and Using Antibody Tests for
                  COVID-19.

                  For the most current CDC recommendations for viral testing and specimen
                  collection, please see Overview of Testing for SARS-CoV-2 (COVID-19).




                                          ATTACHMENTS


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                                 #:41961

      ATTACHMENT                                      DOCUMENT NAME
        LETTER                                         AND CITATION

           A               U.S. Immigration and Customs Enforcement, Updated ICE statement
                           on COVID-19 (Mar. 18, 2020),
                           https://www.ice.gov/news/releases/updated- ice-statement-covid-19.

           B               Centers of Disease Control and Prevention, Symptoms of
                           Coronavirus, https://www.cdc.gov/coronavirus/2019-
                           ncov/symptoms-testing/symptoms.html (last visited October 15,
                           2020).
           C               ICE National Detention Standards 2019, Standard 4.3, Medical Care,
                           https://www.ice.gov/doclib/detention-standards/2019/4_3.pdf.

           D               2011 ICE Performance-Based National Detention Standards, Revised
                           2016, Standard 4.3, https://www.ice.gov/doclib/detention-
                           standards/2011/4-3.pdf.

           E               2008 ICE Performance-Based National Detention Standards,
                           Standard 4-22, Medical Care,
                           https://www.ice.gov/doclib/dro/detention-
                           standards/pdf/medical_care.pdf.

           F               Centers of Disease Control and Prevention, Interim Guidance on
                           Management of Coronavirus Disease 2019 (COVID-19) in
                           Correctional and Detention Facilities ( July 22, 2020),
                           https://www.cdc.gov/coronavirus/2019-
                           ncov/community/correction-detention/guidance-correctional-
                           detention.html (last visited October 15, 2020).
           G               Memorandum from Executive Associate Director Enrique Lucero,
                           Enforcement and Removal Operations, Memorandum on
                           Coronavirus 2019 (COVID-19) Action Plan, Revision 1 (Mar. 27,
                           2020).

           H               Centers of Disease Control and Prevention, Public Health
                           Guidance for Community-Related Exposure,
                           https://www.cdc.gov/coronavirus/2019-ncov/php/public- health-
                           recommendations.html (last visited October 15, 2020).

            I              Centers for Disease Control and Prevention, Optimizing Supply of
                           PPE and Other Equipment during Shortages,
                           https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/
                           (last visited October 15, 2020).




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                                 #:41962

      ATTACHMENT                                      DOCUMENT NAME
        LETTER                                         AND CITATION

            J              Centers for Disease Control and Prevention, Cleaning and
                           Disinfection for Community Facilities,
                           https://www.cdc.gov/coronavirus/2019-
                           ncov/community/organizations/cleaning-disinfection.html (last
                           visited October 15, 2020).
           K               U.S. Environmental Protection Agency, List N: Disinfectants for Use
                           Against SARS-CoV-2, https://www.epa.gov/pesticide-registration/list-
                           n-disinfectants- use-against-sars-cov-2 (last visited October 15,
                           2020).
           L               Assistant Director Peter Berg, Enforcement and Removal
                           Operations, Updated Guidance: COVID-19 Detained Docket Review
                           (Apr. 4, 2020).

           M               Centers for Disease Control and Prevention, Discontinuation of
                           Transmission-Based Precautions and Disposition of Patients with
                           COVID-19 in Healthcare Settings (Interim Guidance),
                           https://www.cdc.gov/coronavirus/2019-ncov/hcp/disposition-
                           hospitalized-patients.html (last visited October 15, 2020)

           N               Centers of Disease Control and Prevention, Interim Guidelines for
                           Collecting, Handling, and Testing Clinical Specimens for COVID-19,
                           https://www.cdc.gov/coronavirus/2019-ncov/lab/guidelines-clinical-
                           specimens.html (last visited August 28, 2020)

           O               Centers of Disease Control and Prevention, Overview of Testing for
                           SARS-CoV-2, https://www.cdc.gov/coronavirus/2019-
                           nCoV/hcp/clinical-criteria.html (last visited August 28, 2020)

           P               Centers of Disease Control and Prevention, Interim Considerations
                           for SARS-CoV-2 Testing in Correctional and Detention Facilities,
                           https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
                           detention/testing.html (last visited October 15, 2020)




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